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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


BENJAMIN COKER, et al.,

                          Plaintiffs,

        v.
                                                  Case No. 3:21-cv-01211-AW-HTC
LLOYD AUSTIN, III, in his official
capacity as Secretary of Defense, et
al.,

                          Defendants.


              MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                      MOTION TO COMPEL

        On January 6, 2022, this Court issued its order denying Defendants’

requested stay of discovery, recognizing that Defendants had “not made a

sufficient showing that a complete stay of discovery is appropriate.” ECF 58 at

p. 1. In its order, this Court rejected Defendants’ contention that “the entire

case will turn on the administrative record.” Id. The parties were given clear

instructions that discovery on topics such as Plaintiffs’ allegations they were

only offered non-BLA-compliant COVID-19 vaccines “need not wait.” Id. at p.

1-2.

        Plaintiffs served their first set of requests for production to Defendants

on February 9, 2022. Exhibit 1. Defendants responded on March 11, 2022 with

their omnibus response. Exhibit 2. On April 20, 2022, Plaintiffs provided
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Defendants correspondence in an “attempt to address the inadequacy of

Defendants’ responses, objections, and production” to these requests. Exhibit

3. Defendants responded to this discovery letter on April 22, 2022, where they

made clear they would not provide responsive documents: “until Plaintiffs

provide more targeted requests, Defendants will continue to stand on their

objections.” Exhibit 4. Plaintiffs, unable to resolve this discovery dispute, are

left with no choice but to ask this Court for an order compelling Defendants to

comply with their discovery obligations.

                            Argument & Authority

1. Overview

      Rule 26(b)(1) provides that party “may obtain Parties may obtain

discovery regarding any nonprivileged matter that is relevant to any party’s

claim or defense and proportional to the needs of the case.” Factors to consider

in whether a party may obtain discovery include “the importance of the issues

at stake in the action . . . the parties’ relative access to the relevant information,

the parties’ resources in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit.” Id.

      A motion to compel may be made where “a party fails to produce

documents.” Fed. R. Civ. P. 37(a)(3)(iv). An incomplete response must be

treated as a failure to respond. Fed. R. Civ. P. 37(a)(4). Rule 37(a)(1) states

that “a party may move for an order compelling disclosure or discovery” as long
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as the party “has in good faith conferred or attempted to confer with the person

or party failing to make disclosure or discovery in an effort to obtain it without

court action.” Likewise, the Northern District of Florida Local Rules require

the parties to confer in good faith “in person, by telephone, in writing, or

electronically” before the filing of a motion to compel. See Local Rule 7.1(B).

The parties have conferred in writing before the filing of this motion. See

Exhibits 3 and 4.

      According to Local Rule 26.1(D), a motion to compel discovery: “must

frame the dispute clearly and, if feasible, must, for each discovery request at

issue: (1) quote the discovery request verbatim; (2) quote each objection

specifically directed to the discovery request; and (3) set out the reasons why

the discovery should be compelled.” Plaintiffs therefore include their requests

and Defendants’ objections and responses, and address why production should

be compelled for each in dispute. Plaintiffs have grouped together their

requests, Defendants’ objections, and Defendants’ responses where necessary.

2. The Discovery at Issue

      A. Austin Requests for Production #1-2, 7-9, 17-20, 24, 27.

Austin RFP #1: For each lot or batch of Vaccines that the Department of
Defense (“DOD”), DOD Component, the Armed Services, or any Armed
Services Component has ordered, please provide the following documents
and/or documents including the following information:
      a. Purchase orders;
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      b. Documents identifying the legal category (Approved, BLA-compliant,
      EUA) of the vaccine or labeling of the vaccine (e.g., Comirnaty, “Purple
      Cap/Vial,” “Gray Cap/Vial,” “Orange Cap/Vial,”);
      c. Manufacturing and expiration dates;
      d. Shipping manifests, including documents indicating shipping and
      receipt dates and delivery locations;
      e. Inventory records, including documents indicating delivery and
      receipt dates and locations; and
      f. Distribution records identifying delivery and receipt dates and
      locations.

Austin RFP #1 is duplicative of Del Toro RFP #1, Wormuth RFP #1, and
Kendall RFP #1 and Defendants respond to these requests collectively as
follows:

Defendants’ Objections: Defendants object to these requests as overbroad,
unduly burdensome, and disproportionate to the needs of the case, as they seek
six types of documents “for each lot or batch of Vaccines” that the entirety of
DoD has ordered, when Plaintiffs have asserted only APA claims against the
“DOD Mandate policy,” which are adjudicated exclusively on the basis of the
administrative record, absent “a strong showing of bad faith or improper
behavior” that Plaintiffs have not made here. See Marllantas, 806 F. App’x at
867.

Defendants object to these requests on the grounds that they are overbroad
and unduly burdensome, including because it seeks information that has no
relevance to the issues in this action, such as “Orange Cap/Vial” vaccines
(which may only be used for children under the age of 12), manufacturing
dates, and “shipping manifests,” and are thus necessarily disproportionate to
the needs of the case, whether viewed individually or in conjunction with the
130 RFPs that Plaintiffs have served on Defendants thus far.

The scope of the requests are also disproportionate to the needs of the case
since they seek information beyond the limited allegations in this complaint
regarding particular plaintiffs.

Defendant’s Response: To the extent documents responsive to this request
are available in the administrative record, Defendant will produce the
Department of Defense’s administrative record to Plaintiffs by March 17, 2022.
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Austin RFP #2: Produce all documents and communications supporting the
August 24, 2021 SECDEF Memo and any documents relating to the
implementation or administration of this policy. This includes documents
relating to the use or administration of EUA-labeled Vaccines, BLA-compliant
Vaccines, and/or labeling-specific guidance (i.e., Purple Cap/Vial, Gray
Cap/Vial, Orange Cap/Vial).

Austin RFP #2 is duplicative of Del Toro RFP #2, Wormuth RFP #2, and
Kendall RFP #2 and Defendants respond to these requests collectively as
follows:

Defendants’ Objections: To the extent that these requests seek information
beyond the administrative record, Defendants object to these requests as
overbroad, unduly burdensome, and disproportionate to the needs of the case,
as they seek “all documents relating to the implementation or administration
of the August 24, 2021 DOD Mandate policy,” when Plaintiffs have asserted
only APA claims against the “DOD Mandate policy,” which are adjudicated
exclusively on the basis of the administrative record, absent “a strong showing
of bad faith or improper behavior” that Plaintiffs have not made here. See
Marllantas, 806 F. App’x at 867.

Defendants additionally object to these requests as overbroad and unduly
burdensome, as they purport to seek “all documents relating to . . .” without
regard to time period, the facial nature of Plaintiffs’ claims, or the
proportionality of such a request, whether viewed individually or in
conjunction with the 130 RFPs that Plaintiffs have served on Defendants thus
far.

Defendants object to these request to the extent they seek information that is
equally available to Plaintiffs or already in Plaintiffs’ possession, to the extent
they seek information that is protected from disclosure by the Privacy Act, 5
U.S.C. § 552a, and to the extent that the requests for “all documents relating
to . . .” seek information protected by any applicable privilege or protection,
including but not limited to the attorney-client privilege, the attorney work
product privilege, or the deliberative process privilege.

Defendants’ Response: To the extent documents responsive to these
requests are available in the administrative record, Defendant will produce the
Department of Defense’s administrative record to Plaintiffs by March 17, 2022.
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Defendant will also produce by March 25, 2022, documents from the following
publicly available websites:
  • https://www.defense.gov/Spotlights/Coronavirus-DOD-Response/Latest-
      DOD-Guidance/
  • https://www.health.mil/Military-Health-Topics/Health-
      Readiness/Immunization-Healthcare/IHD-COVID-19-Vaccine-
      Resource-Center-for-Health-Care-Personnel#Policy

Austin RFP #7: Produce all communications regarding the adoption or
implementation of the DOD Mandate with:
     a. Members of the White House Safer Workforce Taskforce;
     b. Other federal agencies, including, but not limited to, the FDA, HHS,
     NIH, NIAID, or CDC; or
     c. Employees or representatives of Pfizer or BioNTech.

Austin RFP #7 is largely duplicative of Del Toro RFP #6, Wormuth RFP #6,
and Kendall RFP #6 and Defendants respond to these requests collectively as
follows:

Defendants’ Objections: To the extent that these requests seek documents
beyond the administrative record, Defendants object to them as overbroad,
unduly burdensome, and disproportionate to the needs of the case, because
Plaintiffs have asserted only APA claims against the “DOD Mandate” and
“FDA Comirnaty Approval,” which are adjudicated exclusively on the basis of
the administrative record, absent “a strong showing of bad faith or improper
behavior” that Plaintiffs have not made here. See Marllantas, 806 F. App’x at
867.

Defendants additionally object to these requests as overbroad and unduly
burdensome, as they purport to seek “all communications regarding the
adoption or implementation of the DOD Mandate” involving the individual
Defendants without regard to time period, the facial nature of Plaintiffs’
claims, or the proportionality of such a request, whether viewed individually
or in conjunction with the 130 RFPs that Plaintiffs have served on Defendants
thus far.

Defendants object to the extent these requests seek information protected by
any applicable privilege or protection, including but not limited to the attorney-
client privilege, the attorney work product privilege, the deliberative process
privilege, or the executive privilege, including with respect to its request for
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“all communications . . .” and communications with “the White House Safer
Workforce Taskforce.”

Defendant’s Response: To the extent documents responsive to these
requests are available in the administrative record, Defendants will produce
the Department of Defense’s administrative record to Plaintiffs by March 17,
2022.

Austin RFP #8: Produce all communications with employees or
representatives of the FDA regarding:
      a. The “interchangeability” of EUA-labeled and licensed Vaccines;
      b. “BLA-compliant” Vaccines;
      c. Legal, chemical, medical, or manufacturing differences between
      Comirnaty and EUA-labeled Vaccines;
      d. Differences in terms of safety, effectiveness, potency or purity between
      Comirnaty and EUA-labeled vaccines;
      e. Differences in terms of safety, effectiveness, potency or purity among
      different lots of EUA-labeled vaccines or between EUA-labeled Vaccines
      manufactured at different locations;
      f. The unavailability of Comirnaty; or
      g. Comparing the level of protection or immunity provided by vaccination
      and previous infection, or natural immunity.

Austin RFP #8 is duplicative of Del Toro RFP #7, Wormuth RFP #7, and
Kendall RFP #7 and Defendants respond to these requests collectively as
follows:

Defendants’ Objections: To the extent that these requests seek documents
beyond the administrative record, Defendants object to them as overbroad,
unduly burdensome, and disproportionate to the needs of the case, because
Plaintiffs have asserted only APA claims against the “DOD Mandate” and
“FDA Comirnaty Approval,” which are adjudicated exclusively on the basis of
the administrative record, absent “a strong showing of bad faith or improper
behavior” that Plaintiffs have not made here. See Marllantas, 806 F. App’x at
867.

Defendants additionally object to these requests as overbroad and unduly
burdensome, as they purport to seek “all communications” involving the
individual Defendants without regard to time period, the facial nature of
Plaintiffs’ claims, or the proportionality of such a request, whether viewed
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individually or in conjunction with the 130 RFPs that Plaintiffs have served on
Defendants thus far.

Defendants object to the extent that the requests for “all communications” seek
information protected by any applicable privilege or protection, including but
not limited to the attorney-client privilege, the attorney work product
privilege, or the deliberative process privilege.

Defendant’s Response: To the extent documents responsive to these
requests are available in the administrative record, Defendants will produce
the Department of Defense’s administrative record to Plaintiffs by March 17,
2022.

The FDA will also produce its own administrative record which FDA
anticipates beginning production of the citizen petition portion of the record by
March 17, 2022. That administrative record may contain information
responsive to this request.

Austin RFP #9: Produce all communications with employees or
representatives of Pfizer or BioNtech regarding all of the foregoing topics plus
the following:
       a. The rationale for not selling or distributing Comirnaty; or
       b. Requests to order Comirnaty or inquiries regarding future availability
       of Comirnaty.

Austin RFP #9 is duplicative of Del Toro RFP #8, Wormuth RFP #8, and
Kendall RFP #8 and Defendants respond to these requests collectively as
follows:

Defendants’ Objections: To the extent that these requests seek documents
beyond the administrative record, Defendants object to them as overbroad,
unduly burdensome, and disproportionate to the needs of the case, because
Plaintiffs have asserted only APA claims against the “DOD Mandate” and
“FDA Comirnaty Approval,” which are adjudicated exclusively on the basis of
the administrative record, absent “a strong showing of bad faith or improper
behavior” that Plaintiffs have not made here. See Marllantas, 806 F. App’x at
867.

Defendants additionally object to these requests as overbroad and unduly
burdensome, as they purport to seek “all communications” involving the
individual Defendants without regard to time period, the facial nature of
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Plaintiffs’ claims, or the proportionality of such a request, whether viewed
individually or in conjunction with the 130 RFPs that Plaintiffs have served on
Defendants thus far.

Defendant further objects to subpart (b) of these requests as duplicative of RFP
1.

Defendants object to subpart (a) of these requests, as Pfizer or BioNTech’s
purported “rationale for not selling or distributing Comirnaty” is not
information within Defendant’s possession, custody, or control.

Defendants’ Response: To the extent documents responsive to these
requests are available in the administrative record, Defendants will produce
the Department of Defense’s administrative record to Plaintiffs by March 17,
2022.

The FDA will also produce its own administrative record which FDA
anticipates beginning production of the citizen petition portion of the record by
March 17, 2022. That administrative record may contain information
responsive to this request.

Austin RFP #17: Mandatory Vaccination Guidance and training materials
promulgated by the DOD and Armed Services and medical/immunization
commands (AFRMA, BUMED, DHA, USAMMA, etc.) regarding:
     a. Vaccination policy and compliance with DOD Mandate;
     b. Exceptions or exemptions from DOD Mandate or other applicable
     policies;
     c. Guidance for refusal management;
     d. Reporting of adverse effects or injuries to VAERS, DMED or other
     databases or medical record systems.

Austin RFP #17 is duplicative of Del Toro RFP #16, Wormuth RFP #16, and
Kendall RFP #16 and Defendants respond to these requests collectively as
follows:

Defendants’ Objections: To the extent that these requests seek documents
beyond the administrative record, Defendants object to these requests as
overbroad, unduly burdensome, and disproportionate to the needs of the case,
when Plaintiffs have asserted only APA claims against the “DOD Mandate”
and “FDA Comirnaty Approval,” which are adjudicated exclusively on the basis
of the administrative record, absent “a strong showing of bad faith or improper
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behavior” that Plaintiffs have not made here. See Marllantas, 806 F. App’x at
867.

Defendants additionally object to these requests as overbroad and unduly
burdensome, as they purport to seek “guidance and training materials” across
the entire Department of Defense and Armed Services, and without regard to
time period, the facial nature of Plaintiffs’ claims, or the proportionality of such
a request, whether viewed individually or in conjunction with the 130 RFPs
that Plaintiffs have served on Defendants thus far.

Defendants further object that the scope of the requests are vague, as they
identify four “medical/immunization commands” by name, but then follows
that list with “etc.,” thus making it unclear from which other parts of the
Department of Defense and Armed Services Plaintiffs request documents.

Defendants also object to these requests as overly broad since the request for
“commands” is vague and appear to seek every single order or instruction to
individual members to comply with applicable vaccination requirements,
which would number at least in the tens, if not hundreds of thousands.

Defendants object to these requests to the extent they seek information that is
equally available to Plaintiffs or already in Plaintiffs’ possession, such as
orders or instructions to Plaintiffs.

Defendants’ Response: To the extent documents responsive to these
requests are available in the administrative record, Defendants will produce
the Department of Defense’s administrative record to Plaintiffs by March 17,
2022.

The FDA will also produce its own administrative record which FDA
anticipates beginning production of the citizen petition portion of the record by
March 17, 2022. That administrative record may contain information
responsive to this request.

Defendants further refer Plaintiffs to AR 40–562/BUMEDINST 6230.15B/AFI
48–110_IP/CG COMDTINST M6230.4G, dated October 7, 2013, ¶ 2-10 for
information responsive to this request. This document was filed on the docket
at ECF No. 31-5.

Defendant will also produce by March 25, 2022, documents from the following
publicly available websites:
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   • https://www.health.mil/Military-Health-Topics/Health-
     Readiness/Immunization-Healthcare/Vaccine-Safety-Adverse-
     Events/Reporting-Vaccine-Health-Problems/VAERS-
     Information#:~:text=The%20Vaccine%20Adverse%20Event%20Reporti
     ng,administration%20of%20U.S.%20licensed%20vaccines
   • https://www.health.mil/Military-Health-Topics/Health-
     Readiness/Immunization-Healthcare/IHD-COVID-19-Vaccine-
     Resource-Center-for-Health-Care-Personnel#Policy

Austin RFP #18: Produce copies of training materials or guidance provided to
HCPs, MTFs and other medical personnel on the following issues:
     a. Compliance with informed consent requirements;
     b. How to explain distinction between Comirnaty, EUA and “BLA-
     compliant” doses;
     c. How to explain differences between Vaccines with Purple Cap/Vial,
     Gray Cap/Vial, and Orange Cap/Vial; or
     d. How to respond to questions whether EUA-labeled vaccines are FDA
     licensed.

Austin RFP #18 is duplicative of Del Toro RFP #17, Wormuth RFP #17, and
Kendall RFP #17 and Defendants respond to these requests collectively as
follows:

Defendants’ Objections: To the extent that these requests seek documents
beyond the administrative record, Defendants object to these requests as
overbroad, unduly burdensome, and disproportionate to the needs of the case,
when Plaintiffs have asserted only APA claims against the “DOD Mandate”
and “FDA Comirnaty Approval,” which are adjudicated exclusively on the basis
of the administrative record, absent “a strong showing of bad faith or improper
behavior” that Plaintiffs have not made here. See Marllantas, 806 F. App’x at
867.

Defendants additionally object to these requests as overbroad and unduly
burdensome, as they purport to seek “training materials or guidance” across
the entire Department of Defense, and without regard to time period, the facial
nature of Plaintiffs’ claims, or the proportionality of such a request, whether
viewed individually or in conjunction with the 130 RFPs that Plaintiffs have
served on Defendants thus far.

Defendants’ Response: To the extent documents responsive to these
requests are available in the administrative record, Defendants will produce
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the Department of Defense’s administrative record to Plaintiffs by March 17,
2022.

Defendants will also produce by March 25, 2022, documents from the following
publicly available websites:
  • https://www.health.mil/Military-Health-Topics/Health-
      Readiness/Immunization-Healthcare/IHD-COVID-19-Vaccine-
      Resource-Center-for-Health-Care-Personnel#Policy

Austin RFP #19: Produce copies of any policies or procedures governing the
following:
      a. Compliance with requirement that only BLA-compliant, EUA-labeled
      vaccines may be mandate.
      b. Reporting of Vaccine adverse effects or injuries to VAERS, DMED or
      other databases or medical reporting systems.

Austin RFP #19 is duplicative of Del Toro RFP #18, Wormuth RFP #18, and
Kendall RFP #18 and Defendants respond to these requests collectively as
follows:

Defendants’ Objections: To the extent that these requests seek documents
beyond the administrative record, Defendants object to these requests as
overbroad, unduly burdensome, and disproportionate to the needs of the case,
when Plaintiffs have asserted only APA claims against the “DOD Mandate”
and “FDA Comirnaty Approval,” which are adjudicated exclusively on the basis
of the administrative record, absent “a strong showing of bad faith or improper
behavior” that Plaintiffs have not made here. See Marllantas, 806 F. App’x at
867.

Defendants additionally object to these requests as overbroad and unduly
burdensome, as they purports to seek “any policies or procedures” across the
entire Department of Defense, and without regard to time period, the facial
nature of Plaintiffs’ claims, or the proportionality of such a request, whether
viewed individually or in conjunction with the 130 RFPs that Plaintiffs have
served on Defendants thus far.

Defendants’ Response: To the extent documents responsive to these
requests are available in the administrative record, Defendants will produce
the Department of Defense’s administrative record to Plaintiffs by March 17,
2022.
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Defendants also refers Plaintiffs to AR 40–562/BUMEDINST 6230.15B/AFI
48–110_IP/CG COMDTINST M6230.4G, dated October 7, 2013, ¶ 2-10 for
information responsive to this request. This document was filed on the docket
at ECF No. 31-5.

Defendants will also produce by March 25, 2022, documents from the following
publicly available websites:
  • https://www.health.mil/Military-Health-Topics/Health-
      Readiness/Immunization-Healthcare/Vaccine-Safety-Adverse-
      Events/Reporting-Vaccine-Health-Problems/VAERS-
      Information#:~:text=The%20Vaccine%20Adverse%20Event%20Reporti
      ng,administration%20of%20U.S.%20licensed%20vaccines.
  • https://www.health.mil/Military-Health-Topics/Health-
      Readiness/Immunization-Healthcare/IHD-COVID-19-Vaccine-
      Resource-Center-for-Health-Care-Personnel#Policy
  • https://www.defense.gov/Spotlights/Coronavirus-DOD-Response/Latest-
      DOD-Guidance/

Austin RFP #20: Produce all documents relating to the DODI 6205.02
procedures including but not limited to:
      a. Documents generated by the officials identified in Section 2
      (“Responsibilities”) in connection with the adoption and implementation
      of the DOD Mandate;
      b. Guidance documents related to the use of FDA-license vaccines, BLA-
      compliant vaccines, and EUA vaccines;
      c. Immunization guidance documents, as set forth in Section 3.1
      (“Immunization Guidance”);
      d. Documents related to Section 3.3 (“Exceptions to Policy”) guidance
      regarding FDA-approved immunizations and non-FDA-approved
      immunizations; and
      e. Any studies or analyses produced pursuant to any requirement under
      DODI 6205.02.

Austin RFP #20 is duplicative of Del Toro RFP #19, Wormuth RFP #19, and
Kendall RFP #19 and Defendants respond to these requests collectively as
follows:

Defendants’ Objections: The requests are overly broad and not
proportionate to the needs of the case insofar as it seeks information related to
any immunization aside from the COVID-19 vaccination.
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To the extent that these requests seek documents beyond the administrative
record, Defendants object to these requests as overbroad, unduly burdensome,
and disproportionate to the needs of the case, when Plaintiffs have asserted
only APA claims against the “DOD Mandate” and “FDA Comirnaty Approval,”
which are adjudicated exclusively on the basis of the administrative record,
absent “a strong showing of bad faith or improper behavior” that Plaintiffs
have not made here. See Marllantas, 806 F. App’x at 867.

The requests in subpart (d) for “documents related to Section 3.3 (‘Exceptions
to Policy’) guidance” are not relevant, and thus overbroad and disproportionate
to the needs to the case because Section 3.3 in DoDI 6205.02 sets forth
“procedures . . . to initiate or increase immunizations against deliberately
released biological agents beyond those specified by the geographic
[Combatant Commanders].”

Likewise, the requests in subpart (e) for “any studies or analyses produced
pursuant to any requirement under DODI 6205.02,” whether or not such
requirement is relevant to this action, are overbroad and disproportionate to
the needs of this case.

Defendant additionally objects to these requests as overbroad and unduly
burdensome, as they purport to seek “all documents relating to . . .” across the
entire Department of Defense, and without regard to time period, the facial
nature of Plaintiffs’ claims, or the proportionality of such a request, whether
viewed individually or in conjunction with the 130 RFPs that Plaintiffs have
served on Defendants thus far.

Defendant further objects to these requests as duplicative of the numerous
other RFPs requesting information on DoD’s “guidance documents,” and
therefore disproportionate to the needs of the action.

Defendant objects to subparts (a) as overbroad, unduly burdensome, and
disproportionate to the needs of the case because that section identifies
numerous officials, including the Chief of the National Guard Bureau and the
Commandant of the U.S. Coast Guard, but no Plaintiff is a member of the
National Guard or the Coast Guard.

Defendant object to these requests to the extent they seek information that is
protected from disclosure by the Privacy Act, 5 U.S.C. § 552a.
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Defendants object to these requests to the extent that they request for “all
documents regarding . . .” seeks information protected by any applicable
privilege or protection, including but not limited to the attorney-client
privilege, the attorney work product privilege, or the deliberative process
privilege.

Defendants’ Response: To the extent documents responsive to these
requests are available in the administrative record, Defendants will produce
the Department of Defense’s administrative record to Plaintiffs by March 17,
2022.

Defendants will produce copies of the References listed on pages 20 and 21 of
DoDI 6205.02. Defendant will also produce by March 25, 2022, documents from
the following publicly available websites:
   • The relevant DoD Directives listed in the References are available online
       at https://www.esd.whs.mil/Directives/issuances/dodd/
   • The relevant DoD Instructions listed in the References are available
       online at https://www.esd.whs.mil/Directives/issuances/dodi/

Austin RFP #24: Produce all documents relating to disciplinary policies or
actions, from January 1, 2020 to the present, for violation of the DOD Mandate
or any other policy related to COVID-19 vaccination.

Austin RFP #24 is duplicative of Del Toro RFP #22, Wormuth RFP #22, and
Kendall RFP #22 and Defendants respond to these requests collectively as
follows:

Defendants’ Objections: To the extent that these requests seek documents
beyond the administrative record, Defendants object to these requests as
overbroad, unduly burdensome, and disproportionate to the needs of the case,
when Plaintiffs have asserted only APA claims against the “DOD Mandate”
and “FDA Comirnaty Approval,” which are adjudicated exclusively on the basis
of the administrative record, absent “a strong showing of bad faith or improper
behavior” that Plaintiffs have not made here. See Marllantas, 806 F. App’x at
867.

Defendants additionally object to these requests as overbroad and unduly
burdensome, as they purport to seek “all documents relating to . . .” actions
across the entire Department of Defense, without regard to the facial nature of
Plaintiff’s claims or the proportionality of such a request, whether viewed
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individually or in conjunction with the 130 RFPs that Plaintiffs have served on
Defendants thus far.

Defendants further object to the phrase “any other policy related to COVID-19
vaccination,” as used herein, as vague and ambiguous, where the failure to
identify the particular policy on which Plaintiffs seek information precludes
meaningful response from Defendant.

Defendants also object to these requests to the extent that they seek
information protected by any applicable privilege or protection, including but
not limited to the attorney-client privilege, the attorney work product
protection, or the deliberative process privilege.

To the extent these requests seek information on individual disciplinary
actions, Defendants further object under the Privacy Act, 5 U.S.C. § 552a. See
Hemphill v. ARAMARK Corp., No. CIV. ELH-12-1584, 2013 WL 1662963, at
*2 (D. Md. Apr. 15, 2013) (denying motion to compel production of overbroad
request for employee personnel files “containing personal information such as
health screenings, pre-employment testing, and background checks” because
plaintiff had not demonstrated a “compelling need for such a broad disclosure
of personal information”).

Defendants’ Response: To the extent documents responsive to these
requests are available in the administrative record, Defendants will produce
the Department of Defense’s administrative record to Plaintiffs by March 17,
2022.

Austin RFP #27: Produce all other implementation and guidance procedures
relating to the DOD Mandate.

Austin RFP #27 is duplicative of Del Toro RFP #24, Wormuth RFP #24, and
Kendall RFP #24 and Defendants respond to these requests collectively as
follows:

Defendants’ Objections: Defendants object to the phrase “all other
implementation and guidance procedures,” as used in these requests, as vague
and ambiguous, as the failure to identify what implementation or guidance
procedures Plaintiffs seek preclude meaningful response from Defendants.

To the extent that these requests seek documents beyond the administrative
record, Defendants object to these requests as overbroad, unduly burdensome,
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and disproportionate to the needs of the case, when Plaintiffs have asserted
only APA claims against the “DOD Mandate” and “FDA Comirnaty Approval,”
which are adjudicated exclusively on the basis of the administrative record,
absent “a strong showing of bad faith or improper behavior” that Plaintiffs
have not made here. See Marllantas, 806 F. App’x at 867.

Defendants’ Response: To the extent documents responsive to these requests
are available in the administrative record, Defendants will produce the
Department of Defense’s administrative record to Plaintiffs by March 17, 2022.

      Plaintiffs’ Argument: The discovery sought in Austin requests for

production #1-2, 7-9, 17-20, 24, 27 are relevant and proportional to the needs

of this case, and should be compelled. The needs of this case, and thus the

necessity of production, must be calculated in light of the seriousness of the

matter before this Court: Plaintiffs’ right to refuse unapproved vaccines and

the armed service member Defendants’ unlawful implementation of the

Department of Defense COVID-19 vaccine mandate (“DOD Mandate”). As a

result of Defendants’ actions, Plaintiffs are “required to take an experimental,

unlicensed EUA [emergency use authorization] vaccine, or else face the serious

disciplinary consequences” that include “the loss of their livelihoods, careers,

benefits, and fundamental rights.” ECF 56 at ¶ 122. There is no doubt that the

requested records are relevant to Plaintiffs’ claims.

      Moreover, the production of the requested records, documents, and

communications are relevant to the defenses asserted by Defendants, such as

their representation that the “DoD has both BLA-compliant doses of the Pfizer

vaccine and EUA doses that are interchangeable with the licensed vaccine.”
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ECF 65-1 at p. 29. This leaves no doubt that the discovery requested by

Plaintiffs – which includes information on the DOD and armed services

possession   of   FDA-approved,     BLA-compliant,     or   EUA    vaccines,   the

implementation of the DOD Mandate by the armed services branches, and the

unavailability of Comirnaty – is relevant to the parties claims and defenses

and is necessary in “resolving the issues” presented to this Court. See Fed. R.

Civ. P. 26(b)(1). This discovery is also necessary for Plaintiffs to prepare

targeted interrogatories concerning issues not limited to the purported

“interchangeability,” the unlawful implementation of the DOD Mandate.

Defendants’ proportionality objection fails in light of the needs of this case.

      Furthermore, Defendants’ objections to the above-referenced requests

for production are improper in that they misrepresent the scope of the

discovery allowed by this Court. Defendants provide objections that these

requests are “overbroad, unduly burdensome, and disproportionate to the

needs of this case” because “Plaintiffs have only asserted APA claims against

the ‘DOD Mandate policy,’ which are adjudicated exclusively on the basis of

the administrative record.” Relying on these misrepresentations, Defendants’

responses make clear that they will only provide, save for a few links to

“publicly available” documents, those materials included in the DOD

administrative record. Defendants have all but announced their outright

refusal to proceed with discovery on the topic of Plaintiffs’ claims they are
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required to take a non-FDA-approved vaccine. They instead only promised the

production of the DOD administrative record. As this Court has observed,

however, discovery on this issue is allowed as “not all” of this case will be

decided upon the administrative record. ECF 58 at p. 1.

        Plaintiffs also note that any purported burden to Defendants in fully

responding to these discovery requests must be weighed against Defendants’

vast resources, the fact that documents responsive to Plaintiffs’ request are in

Defendants’ sole possession, and that these documents are likely significant to

Plaintiffs’ claims. As to Defendants’ objections that many of the above-

referenced requests for production are made “without regard to time period,”

Plaintiffs respond that the time period in many of these requests is self-

evidence. For example, Austin RFP #9 seeks documents relating to

communications with Pfizer or BioNtech employees regarding topics including

the rationale for not selling or distributing Comirnaty and requests to order

Comirnaty. The main topic of this Austin RFP #9 – the drug Comirnaty – was

approved by the FDA on August 23, 2021. For these reasons, Defendants

should thus be compelled to produce all responsive documents not subject to

privilege.

B. Del Toro, Wormuth, and Kendall Requests for Production.

   i.     Del Toro Requests for Production #25-28.
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Del Toro RFP #25: Produce all documents and communications in possession
of Vice Admiral William Merz regarding the Navy’s implementation of
mandatory vaccination for COVID-19.

Del Toro RFP #26: Produce all documents and communications in possession
of Vice Admiral William Merz regarding the Navy’s policies and procedures for
implementation and enforcement of the DOD Mandate.

Del Toro RFP #27: Produce all documents and communications in possession
of Lieutenant General David Furness regarding the U.S. Marine Corps’
implementation of mandatory vaccination for COVID-19.

Del Toro RFP #28: Produce all documents and communications in possession
of Lieutenant General David Furness regarding the U.S. Marine Corps’
policies and procedures for implementation and enforcement of the DOD
Mandate.

Defendant’s Objections to these requests: Defendant objects to this
request as overbroad, unduly burdensome, and disproportionate to the needs
of the case. Plaintiffs have asserted only APA claims against the “DOD
Mandate,” which are adjudicated exclusively on the basis of the administrative
record, absent “a strong showing of bad faith or improper behavior” that
Plaintiffs have not made here. See Marllantas, 806 F. App’x at 867.

Defendant further objects to this request as overly broad and not proportionate
to the needs of this case, as it is made without regard to time period or to the
proportionality of seeking “all documents and communications . . . regarding .
. .,” whether viewed individually or in conjunction with the 130 RFPs that
Plaintiffs have served on Defendants thus far.

Defendant objects to the extent the request for “all documents and
communications . . . regarding . . .” seeks information protected by any
applicable privilege or protection, including but not limited to the attorney-
client privilege, the attorney work product privilege, or the deliberative process
privilege.

Defendant’s Response to Del Toro RFP #25: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Vice Admiral William Merz.
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Defendant’s Response to Del Toro RFP #26: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Vice Admiral William Merz.

Defendant’s Response to Del Toro RFP #27: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Lieutenant General David Furness.
Defendant’s Response to Del Toro RFP #28: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Lieutenant General David Furness.

   ii.   Wormuth Requests for Production #26, 27.

Wormuth RFP #26: Produce all documents and communications in
possession of Colonel Michele Soltis, M.D. relating to the Army’s
implementation of mandatory vaccination for COVID-19.

Wormuth RFP #27: Produce all documents and communications in
possession of Colonel Michele Soltis, M.D. relating to the Army’s policies and
procedures for implementation and enforcement of the DOD Mandate.

Defendant’s Objections to these requests: Defendant objects to this
request as overbroad, unduly burdensome, and disproportionate to the needs
of the case. Plaintiffs have asserted only APA claims against the “DOD
Mandate,” which are adjudicated exclusively on the basis of the administrative
record, absent “a strong showing of bad faith or improper behavior” that
Plaintiffs have not made here. See Marllantas, 806 F. App’x at 867.

Defendant further objects to this request as overly broad and not proportionate
to the needs of this case, as it is made without regard to time period or to the
proportionality of seeking “all documents and communications . . . relating to .
. .,” whether viewed individually or in conjunction with the 130 RFPs that
Plaintiffs have served on Defendants thus far.

Defendant objects to the extent the request for “all documents and
communications . . . relating to . . .” seeks information protected by any
applicable privilege or protection, including but not limited to the attorney-
client privilege, the attorney work product privilege, or the deliberative process
privilege.
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Defendant’s Response to Wormuth RFP #26: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Colonel Michele Soltis, M.D.

Defendant’s Response to Wormuth RFP #27: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Colonel Michele Soltis, M.D.

   iii.   Kendall Requests for Production #27, 30-34.

Kendall RFP #27: Produce all documents and communications in possession
of Colonel Tonya Rans, M.D. relating to the Air Force’s implementation of the
DOD Mandate.

Defendant’s Objections: Defendant objects to this request as overbroad,
unduly burdensome, and disproportionate to the needs of the case. Plaintiffs
have asserted only APA claims against the “DOD Mandate,” which are
adjudicated exclusively on the basis of the administrative record, absent “a
strong showing of bad faith or improper behavior” that Plaintiffs have not
made here. See Marllantas, 806 F. App’x at 867.

Defendant further objects to this request as overly broad and not proportionate
to the needs of this case, as it is made without regard to time period or to the
proportionality of seeking “all documents and communications . . . relating to .
. .,” whether viewed individually or in conjunction with the 130 RFPs that
Plaintiffs have served on Defendants thus far.

Defendant additionally objects to this request as duplicative of the RFPs
seeking information on the Air Force’s adoption and implementation policy
documents.

Defendant further objects to the extent the request for “all documents and
communications . . . relating to . . .” seeks information protected by any
applicable privilege or protection, including but not limited to the attorney-
client privilege, the attorney work product privilege, or the deliberative process
privilege.

Defendant’s Response to Kendall RFP #27: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Colonel Tonya Rans, M.D.
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Kendall RFP #30: Produce all documents and communications in possession
of Colonel Elizabeth Hernandez regarding the Air Force’s enforcement of the
DOD Mandate.

Kendall RFP #31: Produce all documents and communications in possession
of Lieutenant Colonel Tameka Alderman regarding the Air Force’s
implementation of mandatory vaccination for COVID- 19.

Kendall RFP #32: Produce all documents and communications in possession
of Lieutenant Colonel Tameka Alderman regarding the policies and procedures
for implementation and enforcement of the DOD Mandate.

Kendall RFP #33: Produce all documents and communications in possession
of Lieutenant Colonel Justin Long regarding the Air Force’s implementation of
mandatory vaccination for COVID-19.

Kendall RFP #34: Produce all documents and communications in possession
of Lieutenant Colonel Justin Long regarding the policies and procedures for
implementation and enforcement of the DOD Mandate.

Defendant’s Objections to Kendall RFP #30-34: Defendant objects to this
request as overbroad, unduly burdensome, and disproportionate to the needs
of the case. Plaintiffs have asserted only APA claims against the “DOD
Mandate,” which are adjudicated exclusively on the basis of the administrative
record, absent “a strong showing of bad faith or improper behavior” that
Plaintiffs have not made here. See Marllantas, 806 F. App’x at 867.

Defendant further objects to this request as overly broad and not proportionate
to the needs of this case, as it is made without regard to time period or to the
proportionality of seeking “all documents and communications . . . relating to .
. .,” whether viewed individually or in conjunction with the 130 RFPs that
Plaintiffs have served on Defendants thus far.

Defendant additionally objects to this request as duplicative of the RFPs
seeking information on the Air Force’s adoption and implementation policy
documents.

Defendant further objects to the extent the request for “all documents and
communications . . . regarding . . .” seeks information protected by any
applicable privilege or protection, including but not limited to the attorney-
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client privilege, the attorney work product privilege, or the deliberative process
privilege.

Defendant further objects to the extent the request for “all documents and
communications . . . regarding . . .” seeks information protected by the Privacy
Act, 5 U.S.C. § 552a.

Defendant’s Response to Kendall RFP #30: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Colonel Elizabeth Hernandez.

Defendant’s Response to Kendall RFP #31: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Lieutenant Colonel Tameka Alderman.

Defendant’s Response to Kendall RFP #32: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Lieutenant Colonel Tameka Alderman.

Defendant’s Response to Kendall RFP #33: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Lieutenant Colonel Justin Long.

Defendant’s Response to Kendall RFP #34: Defendants will produce by
March 25, 2022, the documents cited in any declaration that has been
submitted in this case from Lieutenant Colonel Justin Long.

      Plaintiffs’ Argument: The discovery sought in Del Toro RFP #25-30;

Wormuth RFP #26, 27; and Kendall RFP #27, 28, 30-34 are relevant and

proportional to the needs of this case, and should be compelled. The needs of

this case, and thus the necessity of production, must be calculated in light of

the seriousness of the matter before this Court: Plaintiffs’ right to refuse

unapproved vaccines and the armed service member Defendants’ unlawful

implementation of the DOD Mandate. Those with natural immunity from
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previous COVID-19 infection are not afforded medical exemptions, contrary to

DOD regulations. See ECF 56 at ¶ 7. As a result of Defendants’ actions,

Plaintiffs are “required to take an experimental, unlicensed EUA [emergency

use authorization] vaccine, or else face the serious disciplinary consequences”

that include “the loss of their livelihoods, careers, benefits, and fundamental

rights.” ECF 56 at ¶ 122.

      Contrary to Defendants’ objections, these requests are not unduly

burdensome or overbroad. Instead, they are tailored to individuals on subject

matters relevant to this case, potentially helpful to Plaintiffs’ case, and require

the production of records less than a year old. Defendants’ assertion of an

undue burden must be weighed against their vast resources, the importance of

these documents relative to Plaintiffs’ claims, and the fact that these

documents are in Defendants’ sole possession. Moreover, Defendants’

objections that these requests are made “without regard to time period” are

inaccurate, in that mandatory COVID-19 vaccination and the implementation

of the DOD Mandate would have theoretically begun when the DOD Mandate

was issued on August 24, 2021. Discovery into years of records, much longer

than those sought by Plaintiffs, has been ordered in less-pressing

circumstances. See Brown v. Vivint Solar, Inc., No. 8:18-CV-2838-T-24JSS,

2019 WL 10786018, at *2 (M.D. Fla. July 23, 2019) (“Defendants shall produce

any prior complaints from Florida, in 2016 and 2017, that allege Defendants
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violated the FCRA by obtaining a consumer credit report without authorization

by the consumer.”); see also Critchlow v. Sterling Jewelers Inc., No. 8:18-CV-

96-T-30JSS, 2018 WL 7291070, at *4 (M.D. Fla. Nov. 13, 2018) (allowing

inquiry into lawsuits for the past four years, and to complaints received for the

year prior to the filing of the complaint).

      As with the Austin RFPs, Defendants have made improper objections to

the above-referenced requests that misrepresent the scope of discovery allowed

by this Court. Defendants object that these requests are “overbroad, unduly

burdensome, and disproportionate to the needs of this case” because “Plaintiffs

have only asserted APA claims against the ‘DOD Mandate policy,’ which are

adjudicated exclusively on the basis of the administrative record.” In reliance

on these misrepresentations, Defendants provide the same general response to

each of the above-referenced requests: that they will produce “the documents

cited in any declaration.” This contravenes this Court’s order that “not all” of

this case will be decided upon the administrative record. ECF 58 at p. 1. It also

contradicts the goals of broad discovery set forth by the Federal Rules of Civil

Procedure,   which    “strongly      favor   full   discovery   whenever   possible.”

Farnsworth v. Procter & Gamble Co., 758 F.2d 1545, 1547 (11th Cir. 1985).

Defendants should thus be compelled to produce all documents responsive to

Del Toro RFP #25-30; Wormuth RFP #26, 27; and Kendall RFP #27-28, 30-34

that are not subject to privilege.
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                                 Conclusion

      In conclusion, and for these reasons, Plaintiffs respectfully request that

this Court grant Plaintiffs’ Motion to Compel.



Dated: May 5, 2022                  Respectfully submitted,

                                    /s/ Brandon Johnson
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                          Certificate of Compliance

      I hereby certify that this submission contains 7,195 words, absent

caption, signature block, and certificate of compliance/conference, and is

therefore in compliance with L.R. 7.1(F).

                                       /s/ Brandon Johnson



                             Certificate of Service

      I hereby certify that on May 5, 2022, I electronically filed the foregoing

notice with the Clerk of the Court by using the CM/ECF system, which will

notify all attorneys of record of the filing.

                                       /s/ Brandon Johnson
